Case 18-60400-sms   Doc 22   Filed 08/20/18 Entered 08/20/18 13:12:31   Desc
                                  Page 1 of 3


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

     IN RE: TRIQUANNA SHANTIA MANN,            {   CHAPTER 13
                                               {
                                               {
             DEBTOR(S)                         {   CASE NO. A18-60400-SMS
                                               {
                                               {   JUDGE SIGLER


                             OBJECTION TO CONFIRMATION


          COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
     Confirmation of the plan for the following reasons:

          1. The Debtor(s)' payments under the proposed plan are
     not current.

          2. The Debtor(s) has failed to provide the Trustee with a
     copy of the federal tax return or transcript of such return for
     the most recent tax year ending immediately before the
     commencement of the instant case and for which a federal income
     tax return was filed, in violation of 11 U.S.C. Section
     521(e)(2)(A)(i).

          3. The amended Chapter 13 plan filed July 16, 2018 fails
     to indicate the proposed change(s) to Section(s) 4.3 at the top
     right of the form, possibly rendering those changes ineffective.
     General Order No. 21-2017.

          4. Pursuant to information obtained at the meeting of
     creditors, it appears that the schedules fail to include total
     household income and expenses, thereby preventing the Chapter 13
     Trustee from determining if all available income is being
     contributed to this repayment plan; specifically, the Debtor
     testified that her Lyft income is approximately $561.00 per
     month.

          5. The funding of post-petition lease installments have
     not been maintained in the above-styled Chapter 13 case; thereby
     rendering the present budget and proposed plan infeasible, 11
     U.S.C. Section 1325 (a)(6).



     Mary Ida Townson, Chapter 13 Trustee
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Case 18-60400-sms   Doc 22   Filed 08/20/18 Entered 08/20/18 13:12:31   Desc
                                  Page 2 of 3

          6. The proposed Chapter 13 plan appears to deviate from
     the local form plan adopted by the Northern District of Georgia,
     in violation of General Order No. 21-2017; specifically, Section
     2.1.

          7. The Chapter 13 Plan is not feasible as the sum of the
     equal monthly payments to creditors is greater than the monthly
     plan payment, in violation of 11 U.S.C. Section 1325(a)(6).

          WHEREFORE, the Trustee moves the Court to inquire into the
     above objections, deny Confirmation of this Debtor's (s') Plan
     and to dismiss the case; or, in the alternative, convert the
     case to one under Chapter 7.




                                      __________/s/_____________
                                      Albert C. Guthrie, Attorney
                                      for Chapter 13 Trustee
                                      GA Bar No. 142399




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Case 18-60400-sms   Doc 22   Filed 08/20/18 Entered 08/20/18 13:12:31   Desc
                                  Page 3 of 3

     A18-60400-SMS

                              CERTIFICATE OF SERVICE


           This is to certify that I have this day served

     DEBTOR(S):

     TRIQUANNA SHANTIA MANN
     3022 LINKS DRIVE, SE
     ATLANTA, GA 30317

     ATTORNEY FOR DEBTOR(S):

     SLIPAKOFF & SLOMKA, PC
     OVERLOOK III - SUITE 1700
     2859 PACES FERRY RD, SE
     ATLANTA, GA 30339

     in the foregoing matter with a copy of this pleading by
     depositing in the United States Mail a copy of same in a
     properly addressed envelope with adequate postage thereon.

     This 20th day of August 2018




                /s/              _____
     Albert C. Guthrie, Attorney
     for Chapter 13 Trustee
     GA Bar No. 142399




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